         Case 5:22-cv-06483-PCP Document 93-1 Filed 05/13/24 Page 1 of 2



 1
     AMIN WASSERMAN GURNANI, LLP
 2   George Spatz, pro hac vice
     Manon Burns, Bar No. 347139
 3   549 W. Randolph St., Ste. 400
     Chicago, IL 60661
 4   Tel: (312) 466-1033
     Fax: (312) 884-7352
 5   gspatz@awglaw.com
     mburns@awglaw.com
 6
     Attorneys for Defendant
 7   LIFEFORCE DIGITAL INC.

 8
                                     UNITED STATES DISTRICT COURT
 9
                                  NORTHERN DISTRICT OF CALIFORNIA
10

11   THRESHOLD ENTERPRISES LTD., a                       Case No.: 5:22-cv-06483-PCP
     Delaware corporation,
12                                                       DECLARATION OF GEORGE SPATZ IN
                           Plaintiff,                    SUPPORT MOTION IN LIMINE NO. 1
13
            v.
14
     LIFEFORCE DIGITAL INC., a Delaware
15   corporation,

16                         Defendant.

17

18

19
20    I, George Spatz, declare:

21         1.      I am counsel for Lifeforce Digital Inc. (“LDI”), the Defendant in the above-

22    captioned matter.

23         2.      I submit this declaration in support of LDI’s Motion in Limine No. 1. I have personal

24    knowledge of the following facts and, if called and sworn as a witness, could and would

25    competently testify thereto.

26         3.      Attached hereto as Exhibit A is a true and correct copy of Threshold Enterprises,

27    Ltd.’s, Initial Disclosures produced in the above-captioned proceeding.

28

                                                   -1-
                  DECLARATION OF GEORGE SPATZ IN SUPPORT OF MOT. IN LIMINE NO. 1
          Case 5:22-cv-06483-PCP Document 93-1 Filed 05/13/24 Page 2 of 2



 1          4.     On December 14, 2023, Barry Sugarman sat for his deposition in the above-

 2    captioned matter. Attached hereto as Exhibit B are true and correct copies of the relevant portions

 3    of Mr. Sugarman’s deposition transcript.

 4          5.     On December 13, 2023, Brian Cayton sat for his deposition in the above-captioned

 5    matter. Attached hereto as Exhibit C are true and correct copies of the relevant portions of Mr.

 6    Cayton’s deposition transcript.

 7          6.     On December 15, 2023, Ira Goldberg sat for his deposition in the above-captioned

 8    matter. Attached hereto as Exhibit D are true and correct copies of the relevant portions of Mr.

 9    Goldberg’s deposition transcript.

10          7.     On April 3, 2024, David Franklyn sat for his deposition in the above-captioned

11    matter. Attached hereto as Exhibit E are true and correct copies of the relevant portions of Mr.

12    Franklyn’s deposition transcript.

13

14          I declare under penalty of perjury that the foregoing is true and correct to the best of my

15   knowledge and belief.

16

17          Executed May 13, 2024.

18

19                                                /s/George Spatz
                                                  ______________________________

20                                                George Spatz

21

22

23

24

25

26
27

28

                                                     -2-
                  DECLARATION OF GEORGE SPATZ IN SUPPORT OF MOT. IN LIMINE NO. 1
